                               NO. 07-12-0102-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL A

                                 JULY 9, 2012
                        ______________________________


                       IN THE MATTER OF J.F., A JUVENILE

                       _________________________________

               FROM THE 99[TH] DISTRICT COURT OF LUBBOCK COUNTY;

               NO. 2011-764,123; HONORABLE WILLIAM SOWDER, JUDGE

                        _______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	Appellant, J.F., a juvenile, filed this appeal from the trial court's Judgment Finding Delinquent Conduct.  Both the clerk's record and reporter's record have been filed.  Appellant's brief was due to be filed on May 30, 2012, but has yet to be filed.  Neither has a motion for extension of time been filed.  By letter dated June 6, 2012, this Court notified Appellant's counsel of the defect and sua sponte extended the deadline in which to file the brief to June 18, 2012, noting that failure to comply would subject the appeal to dismissal pursuant to applicable rules of appellate procedure without further notice.  See Tex. R. App. P. 38.8(a)(1) and 42.3(b) and (c). Counsel did not respond to this Court's notice and the brief remains outstanding.
	Consequently, we dismiss this appeal for want of prosecution and failure to comply with a notice from the Clerk of this Court requiring action within a specified period of time.
							Patrick A. Pirtle
							      Justice


